Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 1 of 33




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                   CASE NO.: 21-24441-CIV-ALTONAGA/TORRES


  MARK CASSIDY, on behalf of himself
  and others similarly situated,

  Plaintiff,

  v.

  VOYAGER DIGITAL LTD., and
  VOYAGER DIGITAL LLC

  Defendants.
  __________________________________/




       DEFENDANTS’ MOTION TO COMPEL ARBITRATION AND TO DISMISS THE
         AMENDED COMPLAINT AND SUPPORTING MEMORANDUM OF LAW
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 2 of 33




                                                     TABLE OF CONTENTS

  PRELIMINARY STATEMENT .....................................................................................................1
  STATEMENT OF FACTS AND ALLEGATIONS ........................................................................3
            A.         Plaintiff’s Voyager Account and Use of the Voyager Platform ..............................3
            B.         The User Agreement and Its Mandatory Arbitration Agreement ............................3
            C.         Procedural History and Jurisdictional Discovery ....................................................6
            D.         The Amended Complaint .........................................................................................9
  MEMORANDUM OF LAW .........................................................................................................10
  I.        THE COURT MUST COMPEL ARBITRATION OF ALL CLAIMS AND
            DISMISS THE COMPLAINT. ..........................................................................................11
            A.         The Mandatory Arbitration Clause of the Voyager User Agreement Is
                       Valid and Binding on Plaintiff. ..............................................................................12
            B.         All Plaintiff’s Claims Present Arbitrable Issues Under the User
                       Agreement. .............................................................................................................14
            C.         Plaintiff Cannot Evade Arbitration By Asserting Certain of His Claims
                       Against Voyager Ltd. .............................................................................................16
            D.         The Complaint Must Be Dismissed, Not Just Stayed, Pursuant to the User
                       Agreement’s Exclusive Jurisdiction Provision. .....................................................19
  II.       THE SECURITIES CLAIMS AGAINST VOYAGER DIGITAL LTD. MUST BE
            DISMISSED FOR SEVERAL ADDITIONAL REASONS..............................................20
            A.         The Court Lacks Personal Jurisdiction Over Voyager Digital Ltd. .......................21
            B.         Voyager Digital Ltd. Was Not a “Statutory Seller” to Plaintiff. ...........................25
            C.         The Federal Securities Claim (Count I) Is Time-Barred. ......................................26
            D.         Plaintiff Fails to Allege He Suffered Any Injury Arising From the
                       Voyager Earn Program. .........................................................................................27
                       1.         Plaintiff Lacks Article III Standing............................................................27
                       2.         Plaintiff Fails to State a Redressable Claim. ..............................................29
  CONCLUSION ..............................................................................................................................30
  REQUEST FOR ORAL ARGUMENT .........................................................................................30




                                                                       -i-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 3 of 33




         Defendants Voyager Digital, LLC (“Voyager LLC” or “VDL”) and Voyager Digital Ltd.

  (“Voyager Ltd”) respectfully move the Court for an order compelling Plaintiff to submit his claims

  to arbitration, and to dismiss this case in its entirety, pursuant to Sections 3 and 4 of the Federal

  Arbitration Act, and Federal Rules of Civil Procedure 12(b)(1), 12(b)(2), 12(b)(3), and 12(b)(6).

                                   PRELIMINARY STATEMENT

         The Amended Complaint is filled with inflammatory rhetoric but does nothing to change

  the result that Plaintiff agreed to arbitrate his claims and this case must be dismissed.

         Plaintiff abandoned some claims, and asserts new ones, but the entire case still arises out

  of his Voyager Account and use of the Voyager Platform. That is dispositive because when

  Plaintiff opened his Voyager Account, he accepted the Voyager User Agreement and agreed to

  arbitrate “any Complaint arising in connection with this Agreement, the Account, the Platform, or

  the Services.” Courts routinely enforce analogous arbitration agreements formed in precisely this

  manner. Nothing that arose in discovery provides a basis to deny enforcement here.

         It is beyond dispute that all Plaintiff’s claims arise out of his Voyager Account and his use

  of the Voyager Platform. Counts III and IV are renewed from the prior complaint, and allege that

  Plaintiff was charged undisclosed “commissions” on trades he executed through the Voyager

  Platform. The Amended Complaint also adds two new claims (Counts I and II), alleging that the

  Voyager Earn Program should have been registered as a securities offering. The Earn Program is

  a feature of the Voyager Platform, which provides rewards for certain assets held on the Voyager

  Platform in users’ Voyager Accounts. Plaintiff received rewards under that program as part of his

  Voyager Account, under the terms set forth in the Voyager User Agreement.

         Congress and numerous appellate courts have made clear that courts must “rigorously

  enforce” arbitration agreements and shall direct the parties to proceed to arbitration when their

  contract so provides. That is what the law requires here.



                                                   -1-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 4 of 33




         The new claims concerning the Voyager Earn Program (Counts I and II) also suffer several

  additional flaws that require dismissal.

         First, Plaintiff seeks to avoid arbitration by naming Voyager Ltd as the defendant on his

  new claims, but jurisdictional discovery confirmed that Voyager Ltd is a parent holding company

  and these claims relate to conduct by Voyager LLC, not Voyager Ltd. The new claims challenging

  the Earn Program—a different aspect of the same Voyager Platform—also relate to the conduct of

  Voyager LLC and provide no more basis for jurisdiction over Voyager Ltd. than the rightly

  abandoned claims.

         Second, and for related reasons, the new claims fail because Voyager Ltd was not a

  “statutory seller” to Plaintiff. The registration provisions of the securities laws under which

  Plaintiff brings suit provide a cause of action only against “statutory sellers” who sold to Plaintiff

  or solicited his purchase. Voyager Ltd did neither.

         Third, Plaintiff’s federal securities claim (Count I) is time-barred. Federal claims for

  failure to register a security are subject to a one-year statute of limitation. Plaintiff opened his

  account on March 17, 2021, yet he did not assert any claim for failure to register until April 28,

  2022, more than one year later. As a result, the claim is time-barred.

         Fourth, and perhaps most fundamentally, Plaintiff lacks Article III standing, and fails to

  state a claim, because he has no alleged injury arising from the Earn Program. He received rewards

  under the program. He now alleges a violation of requirements to register the program as a

  security, but the law is clear that bare regulatory violations without injury do not confer standing

  and also do not support a right of action.

         Plaintiff has failed to allege any claim properly before this Court and has been given every

  opportunity to do so. The Complaint should be dismissed.




                                                   -2-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 5 of 33




                                                                                 1
                        STATEMENT OF FACTS AND ALLEGATIONS

         A.      Plaintiff’s Voyager Account and Use of the Voyager Platform

         On March 17, 2021, Plaintiff registered for an account on the Voyager Platform. (AC ¶

  107.) The Voyager Platform is a website and mobile application that provides users the ability “to

  trade, invest, earn and secure digital assets across multiple types of digital assets.” (AC ¶ 69.)

         From the time he signed up until August 17, 2021, Plaintiff engaged in trades of Bitcoin

  and other cryptocurrencies on the Voyager Platform, held those assets on the Voyager Platform,

  and received in-kind rewards of Bitcoin and one other cryptocurrency into his Voyager Account.

  On August 17, 2021, Plaintiff sold his holdings and transferred the funds out. (AC ¶¶ 106-07.)

         The Voyager Platform is operated by Voyager LLC. (See AC ¶ 3 (referring to “Voyager’s

  Platform, which is operated by VDL”); see also AC ¶¶ 34; 70.) Defendant Voyager Ltd is a foreign

  holding company parent of Voyager LLC with no operations or employees. (Casey Decl. (attached

  as Sadeghi Decl. Ex. 1) ¶ 5.) Voyager Ltd does not operate the Voyager Platform. (Id.)

         B.      The User Agreement and Its Mandatory Arbitration Agreement

         To register for a Voyager Account, a user must check a box confirming that they have read

  and understood the terms of Voyager LLC’s User Agreement. (Casey Decl. ¶ 8.) The check-box

  appears next to the sentence “By creating an account, you agree to our Terms.” (Id. ¶¶ 7-8.) The

  word “Terms” in bold and purple text is a hyperlink. Clicking on the word “Terms” on the account

  opening screen takes the user to Voyager’s User Agreement. (Id. ¶ 9.)


  1
    The facts are taken from the Amended Class Action Complaint (cited as “AC ¶ _”), documents
  referenced therein, and testimony and documents produced by Defendants through jurisdictional
  and arbitration-related discovery, copies of which are attached to the accompanying Declaration
  of Kayvan B. Sadeghi, filed contemporaneously herewith, including the Declaration of Shannon
  Casey, dated February 17, 2022 (“Casey Decl.”) first submitted with Defendants’ initial Motion
  to Compel Arbitration and Dismiss the Complaint [ECF No. 28-1], excerpts of the deposition
  testimony of Voyager Ltd’s corporate representative (cited as “Ltd Tr.”) and of Michael Legg
  (“Legg Tr.”), and Voyager Ltd’s and Voyager LLC’s respective Responses to Interrogatories.


                                                   -3-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 6 of 33




         Voyager LLC also maintains records in the ordinary course of business recording whether

  and when users agree to the User Agreement. (Casey Decl. ¶¶ 10-11.) Those records establish

  that Plaintiff Mark Cassidy checked the box manifesting his agreement to the User Agreement at

  4:28pm U.T.C. on March 17, 2021 (Id. ¶¶ 11-12.)

         When Plaintiff signed up for a Voyager account on March 17, 2021, the “Terms” link

  directed the user to the User Agreement last revised January 2021, a copy of which is attached to

  the Casey Declaration as Exhibit A.

         The first paragraph of the January 2021 User Agreement makes clear that the Voyager

  account and related Platform are provided by Voyager LLC, and the second paragraph makes clear

  that the User Agreement contains a binding arbitration agreement, and that if the user does not

  agree to those terms the user “shall not access or use the Voyager Services”:




         The arbitration clause mandates arbitration of “any Complaint arising in connection with

  this Agreement, the Account, the Platform, or the Services” in accordance with the American

  Arbitration Association’s (“AAA’s”) rules for arbitration of consumer disputes, and expressly

  waives the right to participate in a class-action lawsuit. (January 2021 User Agreement § 22

  (“Arbitration Clause”).) In full, the Arbitration Clause states:



                                                   -4-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 7 of 33




         Voyager and I agree to attempt informal resolution of any Complaint arising in
         connection with this Agreement, my Voyager Account, the Voyager Platform, or
         the Voyager Services consistent with the procedures outlined in Section 20 prior to
         any demand for adjudication. Voyager and I further agree that if we cannot solve
         such Complaint informally and consistent with the procedures outlined in Section
         20, any such dispute shall be finally settled in binding arbitration, on an individual
         basis, in accordance with the American Arbitration Association’s rules for
         arbitration of consumer-related disputes, and Voyager and I hereby expressly waive
         trial by jury and right to participate in a class-action lawsuit or class-wide
         arbitration. The arbitration will occur in New Jersey and will be conducted
         confidentially by a single, neutral arbitrator. I agree to bear my own attorney’s fees,
         costs, and expenses. The arbitrator may award any relief that a court of competent
         jurisdiction could award, including attorneys’ fees when authorized by law, and the
         arbitral decision may be enforced in any court. Any dispute between the parties will
         be governed by this Agreement and the laws of the State of New Jersey and
         applicable United States law, without giving effect to any conflict of laws principles
         that may provide for the application of the law of another jurisdiction. Voyager and
         I further agree that the state or federal courts in New Jersey have exclusive
         jurisdiction over any appeals of an arbitration award and over any suit between the
         parties not subject to arbitration. In the event the prohibition on class arbitration or
         any other provision of this Section is deemed invalid or unenforceable, then I agree
         and understand that the remaining portions of the arbitration provisions in this
         Section will remain in full force and effect.
         The third paragraph of the User Agreement makes clear that Voyager may amend the User

  Agreement, which will be effective upon posting on the website, and that the user has the option

  not to agree to such revisions but “[i]f I do not agree to the terms in effect when I am accessing

  my Voyager Account, I must stop using the Voyager Platform.” (Id. at 2.)

         The User Agreement was revised once during the time of Plaintiff’s alleged trading on the

  Voyager Platform, on April 16, 2021 (Casey Decl. ¶¶ 16, 20 & Ex. B), and notice was emailed to

  customers on April 18, 2021. (Id. ¶ 21 & Ex. F.) In that revision, there was no change to the

  substance of the Arbitration Clause, which remained essentially verbatim other than updating the

  section references, changing the pronoun from “I” to “Customer”, and placing the provision in all

  caps. (See id.)

         The User Agreement has also been amended three times since Plaintiff’s last trade, but the

  terms of the arbitration agreement have remained materially the same throughout: each version



                                                   -5-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 8 of 33




  mandates arbitration under the AAA’s rules for arbitration of consumer disputes, expressly waives

  the right to participate in a class-action lawsuit, and provides for exclusive jurisdiction in New

  Jersey state and federal courts. (See id. ¶¶ 17-19 & Exs. C-E.)

         The Earn Program is also governed by the User Agreement, which makes clear that the
                                                                                       2
  Earn Program is part of the Voyager Platform operated by Voyager Digital LLC. The current

  version of the User Agreement explains that “By entering into this Customer Agreement . . .

  Customer understands, acknowledges and agrees that Customer is opting into the Voyager Earn

  Program.” (Casey Decl. Exhibit E § 10.)

         C.      Procedural History and Jurisdictional Discovery

         Plaintiff filed his first complaint in this Court on December 24, 2021, nine months after

  having agreed to arbitrate “any Complaint arising in connection with [the User] Agreement, [his]

  Voyager Account, the Voyager Platform, or the Voyager Services.”

         The first complaint alleged that Plaintiff was charged undisclosed commissions on his

  cryptocurrency trades using the Voyager Platform, and on that basis asserted three causes of action

  against both Voyager LLC (which operates the Platform), and its parent company, Voyager Ltd.

  (See Complaint, ECF No. 1; Motion to Compel Arbitration, ECF No. 28, at 5-6.)

         The first complaint attributed substantially all allegations to both Voyager LLC and

  Voyager Ltd without distinction. To do so it relied on discussion in Voyager Ltd’s consolidated

  financial statements and in earnings calls, which refer to “Voyager” or “we” when discussing




  2
    As noted in the Amended Complaint, the terminology has changed over time. (See AC ¶ 25.)
  The program was not called the “Earn Program” when Plaintiff signed up or received benefits, but
  the version of the User Agreement in force when Plaintiff signed up and when he received benefits
  similarly covered the same benefit program using the terminology in use at the time of each of
  those agreements. (See Casey Decl. Exhibit A (January 2021 User Agreement) § 19; Exhibit B
  (April 16, 2021 User Agreement) § 10.)


                                                  -6-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 9 of 33




  operations of Voyager Ltd. and its subsidiaries, including Voyager LLC, on a consolidated basis.

  (See, e.g., First Complaint (ECF No. 1) ¶ 20 & Exs. A, G, H.)

         Defendants moved to compel arbitration and to dismiss, including to dismiss Voyager Ltd

  for lack of personal jurisdiction because the operations related to the Voyager Platform and

  Plaintiff’s Voyager Account were conducted by Voyager LLC, while Voyager Ltd is a holding

  company that lacks contacts with Florida sufficient to establish jurisdiction. (Motion to Compel

  Arbitration and to Dismiss, ECF No. 28.)

         In response to Defendants’ motion, the Court granted targeted discovery related to the

  motion to compel arbitration and to dismiss. The Court noted a statement in Voyager Ltd.’s March

  2021 earnings call, where a representative stated: “We’re at 49 states today. We offer our services

  in 49 states. It’s only New York that we’re not — we don’t offer this service.” (March 3 Order,

  ECF No. 36, at 3 (citing Compl., Ex. G).) The Court recognized that it was “possible that the

  representative meant to reference Voyager Digital, LLC, when he used ‘we,’” and held that “this

  ambiguity only accentuates the need for jurisdictional discovery.” (Id.)

         Following the Court’s March 3 Order, Defendants produced documents in response to

  dozens of requests, responded to interrogatories, and produced three witnesses for deposition.

         Jurisdictional discovery confirmed that Voyager Ltd is a holding company and the relevant

  contacts with Plaintiff and with Florida relate to Voyager LLC and not Voyager Ltd. (See, e.g.,

  Ltd Tr. (Sadeghi Decl. Ex. 2) at 12:24-13:3 (“Voyager Digital LLC owns the platform through

  development of the software associated therewith and deploys that software into a user facing

  platform. That is all done through Voyager Digital LLC.”).) Voyager Ltd neither operates the

  Voyager Platform nor does it have any policies or procedures from the Board that gave any

  authority or power over the day to day operations of Voyager Digital LLC or the platform. (Id. at

  152:1-4.)



                                                  -7-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 10 of 33




           Discovery also confirmed that the Voyager Earn Program “is a functionality within the

   Voyager [P]latform, which is owned and operated by Voyager Digital LLC.” (Id. at 54:7-9.)

           When asked specifically about the description of company operations in connection with

   its consolidated financial statements, the Voyager Ltd corporate representative explained that:

   “transaction revenue and fees on crypto assets loaned occur at the Voyager Digital LLC level.”

   (Ltd Tr. 182:2-5.) Voyager’s former Chief Communications Officer likewise confirmed that he

   understood doing business in Florida to mean that the Voyager app was available in Florida. (See

   Legg Tr. (Sadeghi Decl. Ex. 3) at 30:10-18: (Q. “During the time that you were with Voyager, did

   you do business in the State of Florida?” . . . A. “The Voyager app was available in Florida for

   users to use.”).)

           With respect to marketing and promotional efforts, discovery similarly confirmed that

   Voyager LLC is the entity that “maintains the website” (Ltd Tr. 19:2), has hired a “marketing firm

   to handle marketing and advertising” (id. at 134:14-16) and “conducts marketing specific to the

   Voyager Platform.” (Id. at 168:14-16.) And Voyager LLC identified agreements it had with

   “Victor Oladipo, Professional Basketball Player for the Miami Heat” and “Robert Gronkowski,

   Professional Football Player for the Tampa Bay Buccaneers.” (Voyager Digital LLC’s Responses

   to Plaintiff’s Interrogatories (Sadeghi Decl. Ex. 4) at p. 9.) In contrast, Voyager Ltd had no similar

   agreements. (Voyager Digital LTD’s Responses to Plaintiff’s Interrogatories Regarding Personal

   Jurisdiction and Arbitration at p. 5.)

           In short, discovery confirmed that the operation of the Voyager Platform and the marketing

   and promotional efforts related to it are undertaken by Voyager LLC—the same entity with which

   Plaintiff entered into a User Agreement mandating arbitration—and not its ultimate parent,

   Voyager Ltd.




                                                    -8-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 11 of 33




          D.      The Amended Complaint

          Following completion of jurisdictional and arbitration-related discovery, Plaintiff filed the

   Amended Complaint on April 28, 2022, asserting four causes of action. [ECF No. 46]

          Counts III and IV reassert the previously alleged claims that trading revenue generated by

   the Voyager Platform—which is discussed at length in Voyager’s public filings—purportedly

   constitutes an “undisclosed commission” causing statements that the trades are “commission-free”

   to be false or misleading. (AC ¶ 146.) On that basis, Plaintiff asserts claims under the New Jersey

   Consumer Fraud Act (id. ¶¶ 143-151 (“Count III”)) and the Florida Deceptive and Unfair Trade

   Practices Act (id. ¶¶ 152-161 (“Count IV”)). Plaintiff asserts these claims only against Voyager

   LLC, abandoning those claims against Voyager Ltd. (See id.)

          Counts I and II are entirely new claims, alleging that the Earn Program constitutes a sale

   of unregistered securities. (AC ¶¶ 131-133.) While the Amended Complaint coins the term Earn

   Program Account or EPA, it also tacitly acknowledges that the Earn Program is part of the Voyager

   Platform. (See AC ¶ 134 (alleging that users “purchase” their earn program account “through

   Defendants’ website and/or application.”); see also AC Ex. E at 3 (asserting that “Voyager’s Earn

   program is a means in which Voyager customers can make deposits of cryptocurrency to their
                        3
   Voyager accounts”).) On that basis, Plaintiff asserts claims under Section 5 of the Securities Act

   of 1933 (id. at ¶¶ 128-135 (“Count I”)) and the Florida Securities and Investor Protection Act (id.

   at ¶¶ 136-142 (“Count II”)).

          To assert its new securities claims against Voyager Ltd instead of Voyager LLC, Plaintiff

   ignores substantially all of the jurisdictional discovery and the User Agreement itself, which make

   3
     The supposed expert report attached to the Amended Complaint as Exhibit E is unfounded and
   inaccurate speculation as to what the author wrongly thinks Voyager is “likely” doing based on
   cursory analysis of other companies, and his lay opinion as a non-lawyer as to how he thinks one
   legal test for what constitutes a security should apply to the Voyager Earn Program. Those
   inaccurate theories and lay opinions are not before the Court on this motion.


                                                   -9-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 12 of 33




   clear that the Earn Program is a feature of the Platform operated by Voyager LLC. Instead,

   Plaintiff continues to rely on generalized statements discussing the consolidated financial results

   and operations oof Voyager Ltd and all of its subsidiaries. (See, e.g., AC ¶¶ 24, 31 (citing the Q2

   2022 earnings call describing operations and using the term “we” or “Voyager”); ¶¶ 32-33 (citing

   press releases); ¶¶ 49-50 (citing press releases and Voyager’s MD&A)).)

          Plaintiff also relies on a number of innocuous allegations about the relationship of the

   Voyager entities that are neither controversial, nor unusual in a parent-subsidiary context,

   including that: (i) revenue from the Voyager Platform is reported on a consolidated basis as part

   of Voyager Ltd’s financial statements; (ii) Voyager discusses its operations and financial results

   on a consolidated basis in certain public statements; (iii) funds raised by Voyager Ltd are used to

   fund operations by its subsidiary, Voyager LLC; and (iv) Voyager Ltd and Voyager LLC have

   overlapping officers. (See id. at ¶¶50-53.) None of these facts, alone or in combination, is

   sufficient to ignore the distinct corporate entities or to support the exercise of jurisdiction over

   Voyager Ltd in Florida.

                                      MEMORANDUM OF LAW

          All of the claims in this case are subject to a mandatory binding arbitration agreement in

   the Voyager User Agreement, so the Court must compel Plaintiff to submit all claims to arbitration

   and dismiss this case in its entirety. (See Section I, infra.) That arbitration agreement is valid and

   binding (see Section I.A), and it applies to all claims asserted in this action, all of which

   indisputably arise in connection with Plaintiff’s Voyager Account and his use of the Voyager

   Platform. (See Section I.B, infra.) Plaintiff cannot evade the arbitration agreement by tactically

   pleading some of the claims against Voyager Ltd instead of Voyager LLC. (See Section I.C, infra.)

   Dismissal is warranted, and not a stay, because all claims are subject to arbitration and because the




                                                   -10-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 13 of 33




   User Agreement provides for exclusive jurisdiction in New Jersey state and federal courts. (See

   Section I.D.) Discovery confirmed this analysis.

          While the Court need not reach the issue, the new securities claims against Voyager Ltd

   (Counts I and II) should also be dismissed for several additional reasons. (See Section II, infra.)

   These claims are based on the Earn Program, which is a feature of the Voyager Platform operated

   by Voyager LLC, and thus it provides no basis for personal jurisdiction over Voyager Ltd. (See

   Section II.A.) For similar reasons, because Voyager Ltd was not the relevant actor, it also was not

   a “statutory seller” to plaintiff as required to state a claim under the federal and state securities

   laws. (See Section II.B.) The federal securities claim (Count I) is also time-barred. (Section II.C.)

   More fundamentally, Plaintiff lacks Article III standing and fails to state a claim because he fails

   to allege any injury from the rewards he received under the Earn Program. (See Section II.D.)

   I.     THE COURT MUST COMPEL ARBITRATION OF ALL CLAIMS AND DISMISS
          THE COMPLAINT.
          The Federal Arbitration Act, 9 U.S.C.§§ 1, et seq. (“FAA”) reflects the “liberal federal

   policy favoring arbitration” and instructs that arbitration agreements “shall be valid, irrevocable,

   and enforceable.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011).

          The Supreme Court has repeatedly made clear that “courts must ‘rigorously enforce’

   arbitration agreements according to their terms.” Am. Express Co. v. Italian Colors Rest., 570 U.S.

   228, 233 (2013) (quoting Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 221 (1985)). The

   FAA “leaves no place for the exercise of discretion…, but instead mandates that district courts

   shall direct the parties to proceed to arbitration” when their contract so provides. Dean Witter

   Reynolds, 470 U.S. at 218 (emphasis in original).

          The FAA requires a court to stay or dismiss a lawsuit and compel arbitration where (a) the

   parties have a valid arbitration agreement and (b) the claims asserted fall within the scope of the

   agreement. See Lambert v. Austin Ind., 544 F.3d 1192, 1195 (11th Cir. 2008). In determining


                                                   -11-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 14 of 33




   whether a dispute is covered by an arbitration agreement, any doubts concerning the scope of

   arbitrable issues should be resolved in favor of arbitration. See Moses H. Cone Mem. Hosp. v.
                                                         4
   Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983). This strong Congressional policy in favor of

   arbitration requires enforcement of the arbitration agreement here.

           A.      The Mandatory Arbitration Clause of the Voyager User Agreement Is Valid
                   and Binding on Plaintiff.
           The “threshold question of whether an arbitration agreement exists at all” is a matter of

   contract to which state law applies. Bazemore v. Jefferson Cap. Sys., LLC, 827 F.3d 1325, 1329

   (11th Cir. 2016); Am. Exp. Fin. Advisors, Inc. v. Makarewicz, 122 F.3d 936, 940 (11th Cir. 1997).

   As this is a diversity action, the Court applies the choice-of-law principles of its forum state,

   Florida. See Fioretti v. Mass. Gen. Life Ins. Co., 53 F.3d 1228, 1235 (11th Cir. 1995) (citing Erie

   R.R. Co. v. Tompkins, 304 U.S. 64 (1938), and Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487

   (1941)). Plaintiff alleges that he is a citizen and resident of Florida (AC ¶ 44), so it may be inferred

   that Florida law will govern his entry into the User Agreement. Fioretti, 53 F.3d at 1235 (lex loci

   contractus applies under Florida law).

           Plaintiff entered into a binding agreement to arbitrate when he opened his account to use

   the Voyager Platform. Immediately above the “Continue” button to proceed with opening his

   Voyager account, Plaintiff was presented with a mandatory checkbox confirming that “By creating

   an account, you agree to our Terms.” (See Casey Decl. ¶ 7-8; supra at 3.) Voyager LLC’s

   contemporaneous records demonstrate that Plaintiff did check the box confirming his acceptance

   of the User Agreement. (See Casey Decl. ¶¶ 10-12.)

   4
     “Under both federal and Florida law, there are three factors for the court to consider in
   determining a party’s right to arbitrate: (1) whether a written agreement exists between the parties
   containing an arbitration clause; (2) whether an arbitrable issue exists; and (3) whether the right to
   arbitration has been waived.” Sims v. Clarendon Nat’l Ins. Co., 336 F. Supp. 2d 1311, 1326 (S.D.
   Fla. 2004) (Altonaga, J.). The Court previously recognized that Defendants were asserting and
   not waiving their right to arbitration. See March 3, 2022 Order [ECF No. 36] at 4.


                                                    -12-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 15 of 33




          It is well-established under both Florida and New Jersey law that agreements formed in

   precisely this manner, known as “click wrap” agreements—i.e., “when a website directs a

   purchaser to the terms and conditions of the sale and requires a purchaser to click a box to

   acknowledge that they have read those terms and conditions”—are valid and binding. MetroPCS

   Commc’ns, Inc. v. Porter, 273 So. 3d 1025, 1028 (Fla. 3d DCA 2018) (reversing denial of motion

   to compel arbitration and holding that “click-wrap” agreement was enforceable regardless of

   whether plaintiff clicked on the hyperlink to view the agreement); Beture v. Samsung Elecs. Am.,

   Inc., No. CV 17-5757 (SRC), 2018 WL 4621586, at *5 (D.N.J. July 18, 2018) (granting motion to

   compel arbitration where users were required to check a box acknowledging terms of use prior to
                           5
   activation of phone).

          In its “preliminary peek” at the merits in the March 3 Order, the Court referenced two cases

   cited by Plaintiff to suggest that courts in Florida and New Jersey “have chosen not to immediately

   enforce arbitration agreements that bear at least some resemblance to the arbitration agreement at

   issue here.” (ECF No. 36 at 5 (citing Doe v. Natt, 299 So. 3d 599, 600–02 (Fla. 2d DCA 2020);


   5
     See also Bell v. Royal Seas Cruises, Inc., No. 19-CIV-60752-RAR, 2020 WL 5639947, at *5
   (S.D. Fla. Sept. 21, 2020) (finding that an arbitration agreement was enforceable where customers
   were required to “take the affirmative action of clicking the continue button directly below” a
   statement that “I understand and agree” to the Terms and Conditions); Calderon v. Sixt Rent a Car,
   LLC, No. 19-62408-CIV, 2021 WL 1325868 (S.D. Fla. Apr. 9, 2021) (granting a motion to compel
   arbitration based on a terms of use agreement where a customer was required to check box to
   confirm agreement); Temple v. Best Rate Holdings LLC, 360 F. Supp. 3d 1289, 1302-03 (M.D.
   Fla. 2018) (granting motion to compel arbitration where user was informed that clicking the button
   would constitute acceptance of the terms available via a hyperlink); Salco Distribs., LLC v. iCode,
   Inc., No. 8:05 CV 642 T 27TGW, 2006 WL 449156, at *2 (M.D. Fla. Feb. 22, 2006) (noting that
   in “Florida and the federal circuits . . . click-wrap agreements are valid and enforceable
   contracts.”); Davis v. Dell, Inc., No. CIV. 07-630RBKAMD, 2007 WL 4623030, at *4 (D.N.J.
   Dec. 28, 2007), aff’d 2008 WL 3843837 (D.N.J. Aug. 15, 2008) (granting motion to compel
   arbitration where buyer was required to affirmatively click a button indicating that he had agreed
   to the Terms and Conditions in connection with his purchase); Scaba v. Jetsmarter, Inc., No.
   CV1817262MASDEA, 2019 WL 3947510, at *6 (D.N.J. Aug. 21, 2019) (granting motion to
   compel arbitration based on click-wrap agreement); Davimos v. JetSmarter, Inc., No.
   CV1815144MASDEA, 2019 WL 3082643, at *4 (D.N.J. July 15, 2019) (same).


                                                  -13-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 16 of 33




   Morgan v. Sanford Brown Inst., 137 A.3d 1168, 1182 (N.J. 2016)). Neither case provides any

   basis to deny enforcement of the arbitration agreement in this case.

          Since the Court’s March 3 Order, Doe v. Natt was quashed by the Supreme Court of Florida

   in Airbnb, Inc. v. Doe, --- So.3d ----, 2022 WL 969184 (March 31, 2022). The court made clear

   that it was error to deny enforcement of Airbnb’s Terms of Service, a click-wrap agreement that

   delegated the decision of arbitrability to the arbitrator by reference to the AAA rules. See id. at *4

   (collecting cases and noting that “[a]ll of the federal circuit courts of appeal to consider the issue

   have consistently agreed that incorporation by reference of arbitral rules into an agreement that

   expressly empower an arbitrator to resolve questions of arbitrability clearly and unmistakably

   evidences the parties’ intent to empower an arbitrator to resolve questions of arbitrability”).

          The other case referenced in the Order, Morgan v. Sanford Brown Institute, 225 N.J. 289

   (2016), bears little resemblance to the arbitration agreement here and does not support a contrary

   result. Morgan did not involve a click-wrap agreement or a comparable arbitration provision. It

   addressed an enrollment agreement for an educational program signed by the plaintiffs. The issue

   was whether the agreement sufficiently disclosed that arbitration waived the right to a jury trial,

   which New Jersey courts require to be explicit. See id. at 300-301. (“Plaintiffs contend that they

   did not know that the arbitration provision denied them their right of access to a judicial forum and

   to a jury trial.”) Here, by contrast, the arbitration agreement does expressly waive trial by jury.

          B.      All Plaintiff’s Claims Present Arbitrable Issues Under the User Agreement.

          Once the Court determines an arbitration agreement exists, it should compel Plaintiff to

   arbitrate because that arbitration agreement delegates arbitrability to the arbitrator. See Airbnb,

   Inc. v. Doe, --- So.3d ----, 2022 WL 969184, at *4 (March 31, 2022) (collecting cases enforcing




                                                   -14-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 17 of 33




                                              6
   delegation by reference to arbitral rules). Moreover, the FAA’s “presumption of arbitrability

   applies to all contracts that contain a broadly fashioned arbitration clause.” AT&T Techs., Inc. v.

   Commc’ns Workers of Am., 475 U.S. 643, 650 (1986).

          In any event, all claims here fit squarely within the terms of the Arbitration Clause, which

   broadly applies to “any Complaint arising in connection with this Agreement, [Plaintiff’s] Voyager

   Account, the Voyager Platform, or the Voyager Services.” (Casey Decl. Ex. A ¶ 22.)

          Counts I and II: These claims assert that the Voyager Earn Program should have been

   registered as a securities offering. They arise in connection with the User Agreement, Plaintiff’s

   Voyager Account, and the Voyager Platform because the program is a feature of the Voyager

   Platform, the terms of the program are set forth in the User Agreement, Plaintiff participated in

   this program through his Voyager Account, and he received rewards based on the assets he held

   in his Account on the Voyager Platform. (See, e.g., AC ¶ 134 (alleging that users “purchase” the

   earn program “through Defendants’ website and/or application”) and compare Voyager User

   Agreement at 3 (defining the Voyager Platform to be “the ‘App’, and together with the Website,

   the ‘Voyager Platform’”); see also AC Ex. E at 3 (asserting that “Voyager’s Earn program is a

   means in which Voyager customers can make deposits of cryptocurrency to their Voyager

   accounts”); User Agreement § 19.)




   6
     See also January 2021 User Agreement Arbitration Clause (incorporating AAA rules for
   consumer disputes); AAA Consumer Arbitration Rules R-14(a) (providing that the “arbitrator shall
   have the power to rule on his or her own jurisdiction, including any objections with respect to the
   existence, scope, or validity of the arbitration agreement or to the arbitrability of any claim or
   counterclaim”)       (available    at    https://adr.org/sites/default/files/Consumer%20Rules.pdf);
   WasteCare Corp. v. Harmony Enterprises, Inc., 822 F. App’x 892, 895–96 (11th Cir. 2020) (“We
   have held that where the parties expressly incorporate the AAA rules into an arbitration provision,
   ‘this alone serves as a clear and unmistakable delegation of questions of arbitrability to
   an arbitrator.’”), cert. denied, 141 S. Ct. 1383, 209 L. Ed. 2d 126 (2021) (quoting JPay, Inc. v.
   Kobel, 904 F.3d 923, 936 (11th Cir. 2018)).


                                                  -15-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 18 of 33




          Counts III and IV:         These claims assert that Voyager LLC charges undisclosed

   commissions for trades executed through the Voyager Platform. The Amended Complaint appears

   to recognize that these claims arise in connection with the User Agreement, Plaintiff’s Voyager

   Account, and the Voyager Platform, and does not allege otherwise. (See, e.g., AC ¶¶ 69-70, 73;

   Count III ¶¶ 143-151 (same); Count IV ¶¶ 152-161 (same).)

          C.      Plaintiff Cannot Evade Arbitration By Asserting Certain of His Claims
                  Against Voyager Ltd.
          The relevant Voyager entity for all Plaintiff’s claims concerning his Voyager Account and

   the Voyager Platform is Voyager LLC, as discussed at length above and further below. Plaintiff

   cannot evade his agreement to arbitrate by strategically asserting some of those claims against a

   different Voyager entity.

          Where the claims asserted fall squarely within an arbitration clause, that clause may be

   enforced even if the claims are asserted against a non-signatory to the agreement. See Cuningham

   Hamilton Quiter, P.A. v. B.L. of Miami, Inc., 776 So. 2d 940, 942 (Fla. 3d DCA 2000) (“It is well

   established that the courts broadly construe arbitration provisions containing the language, ‘arising

   out of or relating to,’ such that in certain instances the clause will include non-signatories”); Armas

   v. Prudential Sec., Inc., 842 So. 2d 210, 211 (Fla. 3d DCA 2003) (“arbitration provisions

   containing the language, ‘arising out of or related to,’ in certain instances can be construed to

   include non-signatories”); see also Bruno v. Mark MaGrann Assocs., Inc., 388 N.J. Super. 539,

   546–47, 909 A.2d 768, 772–73 (App. Div. 2006) (broadly worded arbitration agreement covering

   “any and all controversies, disputes, or claims arising under, or related to” a contract or subject

   property encompassed claims against non-party subcontractors).

          In addition, Voyager Ltd can directly enforce the arbitration clause as a third-party

   beneficiary of the contract and under principles of equitable estoppel and agency. The question of

   whether a non-signatory can enforce an arbitration clause is governed by state law. See Lawson v.


                                                    -16-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 19 of 33




   Life of the S. Ins. Co., 648 F.3d 1166, 1170–71 (11th Cir. 2001) (citing Arthur Andersen LLP v.

   Carlisle, 556 U.S. 624, 631 (2009)). While the law is mixed on whether enforceability is governed
                                                                  7
   by the law of the forum state or the contract’s choice of law, the Court need not reach the issue

   because under any applicable law Plaintiff cannot evade his agreement to arbitrate by deliberately

   naming the wrong party as a defendant.

          Florida law provides Plaintiff is “equitably estopped from avoiding arbitration with” a non-

   signatory where the claims against that entity “stem from the same contractual obligation” on

   which claims against a second defendant are based. Armas, 842 So. 2d at 212. As in Voyager

   LLC’s User Agreement, the operative agreement in Armas stated that any claims “arising out of

   or related to” the agreement were subject to arbitration. Id. Based on this language, the court

   found that “the breadth and scope of the arbitration agreement is broad enough to include” a non-

   signatory defendant. Id.

          Principles of equitable estoppel allow a non-signatory to compel arbitration of claims in

   two circumstances: (i) “when the signatory to a written agreement containing an arbitration clause

   must rely on the terms of the written agreement in asserting its claims against the nonsignatory”;

   and (ii) “when the signatory to the contract containing the arbitration clause raises allegations

   of…substantially interdependent and concerted misconduct by both the nonsignatory and one or




   7
     See, e.g., Gunson v. BMO Harris Bank, N.A., 43 F. Supp. 3d 1396, 1400 (S.D. Fla. 2014)
   (applying Florida law where there was no conflict with the contract’s choice of law, and noting
   that, moreover, “the choice of law provisions are not necessarily applicable to the question of
   arbitrability” in addressing which state’s law would govern non-signatory’s ability to compel
   arbitration); Orn v. Alltran Fin., L.P., 779 F. App’x 996, 998 (3d Cir. 2019) (noting that, while the
   parties did not argue it, state law of parties’ location might have governed a non-signatory seeking
   to enforce an arbitration clause because only those with standing to enforce the agreement may
   invoke the choice of law clause).


                                                   -17-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 20 of 33




   more of the signatories to the contract.” MS Dealer Serv. Corp. v. Franklin, 177 F.3d 942, 947
                                      8
   (11th Cir. 1999) (citing omitted). Both circumstances are present here.

           The claims against Voyager Ltd rely on Plaintiff’s User Agreement with Voyager LLC.

   Plaintiff’s entry into the User Agreement was required to create his Voyager account and access

   the Voyager Platform (see supra at 3; Casey Decl. ¶ 8 & Ex. A at 1), it set forth the terms of the

   Earn Program and its predecessor programs, and it created his only relationship with the Voyager

   Defendants. (See supra at 4-6.) Similarly, in Gunson v. BMO Harris Bank, N.A., 43 F. Supp. 3d

   1396 (S.D. Fla. 2014), the court compelled arbitration of purported class action claims against a

   non-signatory to loan agreements, because the agreements created the relationship between the

   plaintiff and the non-signatory defendants, noting that arbitration is required where an agreement

   including an arbitration clause “create[s] the relationship between the” plaintiff and the non-

   signatory and the claims against the non-signatory “presume[] the existence of” that agreement.

   Id. at 1401-02 (applying Florida law).

           The claims against Voyager Ltd must also be compelled to arbitration because they are

   inextricably intertwined with the claims against Voyager LLC. Olsher Metals Corp. v. Olsher,

   No. 03-12184, 2004 WL 5394012, at *1-3 (11th Cir. Jan. 26, 2004) (affirming order compelling

   arbitration of claims against non-signatory because of the non-signatory’s “close relationship to

   the parties to the agreement” and the fact that all of the claims “factually relate to the interpretation

   and performance” of the agreement).

           New Jersey law also allows a non-signatory parent company to compel claims to arbitration

   where those claims are based on the plaintiff’s relationship with a subsidiary governed by an

   arbitration agreement. See, e.g., KPH Healthcare Servs., Inc. v. Janssen Biotech, Inc., No.



   8
    Abrogated on other grounds, Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 631, 129 S. Ct.
   1896, 1902, 173 L.Ed.2d 832 (2009).


                                                     -18-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 21 of 33




   20CV05901KMESK, 2021 WL 4739601, at *7 (D.N.J. Oct. 12, 2021). Under New Jersey law,

   courts reach this result under an agency theory rather than an equitable estoppel theory. See id.

   (noting that agency theory applies where, as here, “a non-signatory parent company seeks to
                                                                                    9
   compel arbitration based on an arbitration agreement made by its subsidiary”).

           Under either state’s approach, Plaintiff cannot evade his agreement to arbitrate by simply

   naming Voyager LLC’s parent company as a defendant instead of Voyager LLC on a claim arising

   out of the Earn Program operated by Voyager LLC pursuant to his contract with Voyager LLC.

           D.      The Complaint Must Be Dismissed, Not Just Stayed, Pursuant to the User
                   Agreement’s Exclusive Jurisdiction Provision.
           This case must be dismissed, not just stayed pending arbitration, because the User

   Agreement provides for exclusive jurisdiction and venue in New Jersey. (See Arbitration Clause

   (“Voyager and I further agree that the state or federal courts in New Jersey have exclusive

   jurisdiction over any appeals of an arbitration award and over any suit between the parties not

   subject to arbitration.”).)

           Venue provisions in arbitration agreements are “presumptively enforceable” absent a

   “strong showing that enforcement would be unfair or unreasonable under the circumstances.”

   Green v. Masimo Corp., No. 09-CV-82355, 2010 WL 11601448, at *2 (S.D. Fla. Mar. 29, 2010)

   (granting motion to dismiss for lack of venue where valid arbitration agreement specified venue

   in California); Rezny v. MoadBus, Inc., No. 610CV1067ORL18GJK, 2010 WL 11626828, at *3

   (M.D. Fla. Nov. 22, 2010) (“Given the surfeit of caselaw stating that forum selection clauses are



   9
     See also Hirsch v. Amper Fin. Servs., LLC, 215 N.J. 174, 193, 71 A.3d 849, 860 (2013) (rejecting
   equitable estoppel in the context of a non-affiliate seeking to compel arbitration based on an
   arbitration clause expressly limited to disputes between the parties, but distinguishing cases in the
   parent-subsidiary context in which the non-signatory could compel arbitration as a result of the
   “agency relationship between the parent and subsidiary corporations in relation to their
   intertwinement with the plaintiff's claims and the relevant contractual language”).


                                                   -19-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 22 of 33




   to be enforced absent a strong showing of unreasonableness, this Court will enforce the arbitration

   clause and dismiss the case for improper venue.”)

          Even putting aside the venue provision, the Complaint should be dismissed. The Eleventh

   Circuit and courts in this District have repeatedly held that dismissal is appropriate where all claims

   are subject to arbitration. See Caley v. Gulfstream Aerospace Corp., 428 F.3d 1359, 1379 (11th

   Cir. 2005) (affirming dismissal where all claims were subject to arbitration); Olsher Metals Corp.,

   2004 WL 5394012, at *3 (same). See also, Jacobs v. Bank of Am. Corp., No. 1:15-CV-24585-

   UU, 2019 WL 2268976, at *7 (S.D. Fla. Feb. 26, 2019) (collecting appellate authority explaining

   that dismissal was more appropriate than a stay); Hodgson v. NCL (Bahamas), Ltd., 151 F. Supp.

   3d 1315, 1317 (S.D. Fla. 2015) (compelling arbitration and dismissing the case, noting that

   “Plaintiff's counsel knew or should have been aware that this case would be subject to arbitration,
                                                                                           10
   and the filing of the Complaint notwithstanding this fact is borderline frivolous.”).

          Plaintiff fails to state any individual claim properly before this Court, so he cannot

   represent a putative class and the Complaint should be dismissed in its entirety. See O’Shea v.

   Littleton, 414 U.S. 488, 494 (1974) (“if none of the named plaintiffs purporting to represent a class

   establishes a requisite case or controversy with the defendant, none may seek relief on behalf of

   herself or himself or any other member of the class”).
   II.     THE SECURITIES CLAIMS AGAINST VOYAGER DIGITAL LTD. MUST BE
           DISMISSED FOR SEVERAL ADDITIONAL REASONS.
          Plaintiff’s effort to avoid arbitration by pleading his securities claims against Voyager Ltd

   rather than Voyager LLC—a tactic that fails to avoid arbitration as set forth above—also gives rise


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     U.S. Courts of Appeals in other federal circuits agree. See Alford v. Dean Witter Reynolds, Inc.,
   975 F.2d 1161, 1164 (5th Cir. 1992) (collecting cases). See also Choice Hotels Int’l, Inc. v. BSR
   Tropicana Resort, Inc., 252 F.3d 707, 709-10 (4th Cir. 2001) (noting that “dismissal is a proper
   remedy when all of the issues presented in a lawsuit are arbitrable.”); Bercovitch v. Baldwin
   School, Inc., 133 F.3d 141, 156 n.21 (1st Cir. 1998) (“a court may dismiss, rather than stay, a case
   when all of the issues before the court are arbitrable.”)


                                                    -20-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 23 of 33




   to at least two additional grounds for dismissal of those claims. First, Plaintiff cannot establish a

   basis for personal jurisdiction over Voyager Ltd because all the relevant contacts with Florida are

   by Voyager LLC. (See Section II.A.) Second, even if the securities laws did apply to the Earn

   Program, Plaintiff fails to plead facts to establish that Voyager Ltd was a statutory seller of that

   program as is required to state a claim. (See Section II.B.) In addition, the federal securities claim

   (Count I) is barred by the one-year statute of limitations. (Section II.C.)

          More fundamentally, the federal and state securities claims fail no matter which entity

   Plaintiff names as a Defendant because he fails to allege any injury from the Earn Program.

   Plaintiff saw headlines about an alleged registration violation and sought to convert that into a

   claim, but the law is clear that bare legal violations do not confer standing on plaintiffs who have

   not suffered concrete injury from that violation, and Plaintiff alleges none. (See Section II.D.)

          A.      The Court Lacks Personal Jurisdiction Over Voyager Digital Ltd.

          Plaintiff brings his securities claims concerning the Earn Program (Counts III and IV)

   against Voyager Ltd, but the Court does not have general jurisdiction over Voyager Ltd—a foreign

   holding company—and Voyager Ltd does not operate, offer, or sell the Voyager Earn Program, so

   Plaintiff’s claims concerning that program provide no basis for specific jurisdiction.

          Specific personal jurisdiction requires that “a plaintiff’s claim ‘must arise out of or relate

   to at least one of the defendant’s contacts with the forum.’” Miller v. Gizmodo Media Grp., LLC,

   383 F. Supp. 3d 1365, 1372 (S.D. Fla. 2019) (Altonaga, J.). To withstand a motion to dismiss for

   lack of personal jurisdiction under Rule 12(b)(2), plaintiff bears the burden to “plead sufficient

   facts to establish a prima facie case of jurisdiction over the non-resident defendant.” Peruyero v.

   Airbus S.A.S., 83 F. Supp. 3d 1283, 1286 (S.D. Fla. 2014) (citing Virgin Health Corp. v. Virgin

   Enters. Ltd., 393 Fed. Appx. 623, 625 (11th Cir. 2010)). Where “the defendant

   submits affidavits contrary to the allegations in the complaint, the burden shifts back to the



                                                   -21-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 24 of 33




   plaintiff to produce evidence supporting personal jurisdiction, unless the defendant’s affidavits

   contain only conclusory assertions that the defendant is not subject to jurisdiction.” Stubbs v.

   Wyndham Nassau Resort & Crystal Palace Casino, 447 F.3d 1357, 1360 (11th Cir. 2006).

          There is no dispute that Voyager LLC was the entity in contractual privity with Plaintiff

   concerning his Voyager Account including the Earn Program (see User Agreement), and that

   Voyager LLC operated the Voyager Platform of which the Earn Program is part (AC ¶¶ 3, 34, 70).

   As a result, the program does not establish a basis for jurisdiction over Voyager Ltd. See Atmos

   Nation LLC v. Alibaba Grp. Holding Ltd., No. 0:15-CV-62104-KMM, 2016 WL 1028332, at *4

   (S.D. Fla. Mar. 15, 2016) (dismissing claims against Alibaba.com, Inc. because the complaint

   “identifie[d] the specific Alibaba entities it claims are responsible for operating the Alibaba

   Platforms”). Nevertheless, Plaintiff alleges several bases for personal jurisdiction over Voyager

   Ltd. Each of these should be rejected.

          First, Plaintiff alleges that it was Voyager Ltd that was conducting the “promotion,

   marketing, and sale” of the Voyager Earn Program. (AC ¶¶ 48, 52.) The jurisdictional discovery

   refuted that allegation. As to promotion and marketing, discovery established that it is Voyager

   LLC, not Voyager Ltd, that has hired a “marketing firm to handle marketing and advertising” (Ltd

   Tr. at 134:14-16), “conducts marketing specific to the Voyager Platform.” (Id. at 168:14-16) and

   has agreements with athletes. (Voyager Digital LLC’s Responses to Plaintiff’s Interrogatories

   Regarding Personal Jurisdiction and Arbitration at p. 9.)

          As to the supposed “sale” of the “Earn Program Account,” Plaintiff ignores that the Earn

   Program is part of the same account and governed by the same User Agreement entered into with

   Voyager LLC (see supra at 6), so to the extent opening an account could be construed as a purchase

   or sale at all, that too is conduct of Voyager LLC and not Voyager Ltd.




                                                  -22-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 25 of 33




          Ignoring the facts established in discovery, the Amended Complaint instead continues to

   rely on statements in the consolidated financials, and press releases to investors, to suggest that

   the marketing is conducted by Voyager Ltd. (See AC ¶¶ 24, 31; ¶¶ 32-33 ¶¶ 49-50.) Those general

   statements may have been enough to warrant discovery into the underlying facts, but they cannot

   take the place of actual contacts with Plaintiff or with Florida necessary to establish jurisdiction.

          Several courts in this Circuit have rejected efforts to establish jurisdiction over a parent

   company based on similar allegations, noting that public-facing statements about a company—

   such as those on company websites or public filings—are “not meant to state the legal relationship

   between the parties but to state in terms investors might understand” and that such statements do

   not provide a basis for jurisdiction. Unitedhealthcare of Fla., Inc. v. Am. Renal Assocs. Holdings,

   Inc., No. 16-81180-CIV, 2017 WL 1832436, at *5 (S.D. Fla. May 8, 2017) (collecting cases); see

   also Yellow Pages Photos, Inc. v. Ziplocal, LP, No. 8:12–cv–755–T–26TBM, 2012 WL 5830590,

   at * 4 (M.D. Fla. Nov. 16, 2012) (“‘As for the statements in the website, annual report, and press

   release, courts do not rely on such statements as reliable evidence that the parent exercises

   ‘operational control’ necessary to confer personal jurisdiction.’”) (quoting Development

   Corporation of Palm Beach v. WBC Construction, LLC, 925 So. 2d 1156, 1163 (Fla. 4th DCA

   2006); iSocial Media Inc. v. bwin.party 8 Digital Entm't PLC, No. 12-81278-CIV, 2013 WL

   5588238, at *8-10 (S.D. Fla. Oct. 10, 2013).

          In Yellow Pages Photos, the court held that a description in “the annual report of Yellow

   Media stating that it ‘operates’ in the United States and ‘exercises control’ over its subsidiaries

   cannot be construed as a precise relationship in fact with respect to day-to-day control.” 2012 WL

   5830590, at *5 (emphasis in original). The court instead looked to testimony, which showed “that

   the day-to-day operational control of YPG is handled by YPG, not Yellow Media.” Id.




                                                    -23-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 26 of 33




          Similarly, in Cross Country Home Servs., Inc. v. Home Serv. USA Corp., No. 08-61456-

   CIV-SEITZ, 2010 WL 55439, at *4 (S.D. Fla. Jan. 6, 2010), the plaintiff sought to conflate the

   distinction between Homeserve and its US subsidiary. In doing so, the plaintiff “relie[d] on public

   statements made by Homeserve that refer to ‘Homeserve's U.S. business,’ ‘we,’ [and]

   ‘Homeserve ... in the USA’” Id. The court found those “public statements, set out above, are not

   sufficient to ignore the separate corporate entities and Plaintiff has presented no evidence to

   support an argument that HSUSA was nothing more than the alter-ego of Homeserve.” Id.

          Courts have also rejected the argument that subsidiary profit distribution and “consolidated

   financial statements” establish personal jurisdiction over a parent company, as “such a financial

   arrangement is part and parcel of the parent/subsidiary relationship and is inadequate to confer

   personal jurisdiction.” Unitedhealthcare of Fla., Inc., 2017 WL 1832436, at *5 (citing Miller v.

   Toyota Motor Corp., No. 6:07-cv-1358-Orl-19DAB, 2008 WL 516725, at * 5 (M.D. Fla. Feb. 22,

   2008) (Florida revenue that passed through subsidiaries is insufficient to establish personal

   jurisdiction), and Extendicare, Inc. v. Estate of McGillien, 957 So. 2d 58, 64-65 (Fla. 5th DCA

   2007) (collecting revenue from subsidiary is not enough to establish personal jurisdiction)).

          Plaintiff next asserts that jurisdiction is proper because “Voyager sells its stock OTC

   throughout the United States, including specifically in the state of Florida to Florida residents.”

   (AC at ¶ 49.) That is irrelevant because none of Plaintiff’s claims are related to the sale of Voyager

   Ltd stock. Moreover, the Supreme Court has held that “[m]ere purchases, even if occurring at

   regular intervals, are not enough to warrant a State’s assertion of in personam jurisdiction over a

   nonresident corporation in a cause of action not related to those purchase transactions.”

   Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 418 (1984).

          Finally, Plaintiff argues that shared resources between the two defendants serve as basis

   for personal jurisdiction over Voyager Ltd. (AC at ¶ 53.) The fact that Defendants share officers



                                                   -24-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 27 of 33




   and directors “does not impute day-to-day control to the parent corporation” as required to impute

   jurisdiction. Yellow Pages Photos, Inc., 2012 WL 5830590, at *5. “One of the basic tents of

   corporate law is that shared directors and officers of parents and subsidiaries may hold the same

   position in both and ‘change hats’ to represent the two corporations separately.” Id. Voyager Ltd

   does not control the day-to-day operations of Voyager LLC, is a distinct corporate entity with

   subsidiaries other than Voyager LLC conducting other lines of business, and has no business or

   operations in the state of Florida. (See Ltd. Tr. at 178:8-181:1.) “[T]here is nothing inherently

   improper about corporations creating subsidiaries to perform specific functions. This is what

   holding companies do.” Unitedhealthcare of Fla., Inc., 2017 WL 1832436, at *5 (citing Sun Trust

   Bank v. Sun Int'l Hotels, Ltd., 184 F. Supp. 2d 1246, 1268-69 (S.D. Fla. 2001)).

          B.      Voyager Digital Ltd. Was Not a “Statutory Seller” to Plaintiff.

          Plaintiff’s failure to allege relevant conduct by Voyager Ltd also precludes him from

   pleading the “statutory seller” element of his securities claims.

          As a preliminary matter, Plaintiff errs in pleading a cause of action under Section 5 of the

   Securities Act because there is no such private right of action. The claim Plaintiff seeks to bring

   is properly construed as a claim under Section 12(a)(1). See, e.g., Licht v. Watson, No. 12-62197-

   CIV, 2013 WL 12089980, at *1 (S.D. Fla. Nov. 13, 2013) (construing a Section 5 claim as a

   Section 12 claim because there is no private right of action under Section 5), report and

   recommendation adopted, No. 12-62197-CIV, 2014 WL 12489596 (S.D. Fla. Apr. 4, 2014).

          Regardless, Plaintiff fails to state a claim against Voyager Ltd under Section 12(a)(1), or

   Florida’s Blue-Sky law (Count II), because Voyager Ltd did not sell to Plaintiff or solicit a

   purchase from Plaintiff. Liability under Section 12(a)(1) is limited to “statutory sellers.” Pinter v.

   Dahl, 486 U.S. 622, 643–47 & n.21 (1988) (noting that the statutory language “contemplates a




                                                   -25-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 28 of 33




                                                                                 11
   buyer-seller relationship not unlike traditional contractual privity”).            See also 15 U.S.C. §

   77l(a)(1) (“Any person who . . . offers or sells a security in violation of [Section 5] of this title . . .

   shall be liable . . . to the person purchasing such security from him . . . .”) (emphasis added).

           To be a statutory seller, plaintiff must allege that the defendant either “(1) passed title of

   the security to the plaintiff, or (2) successfully solicited the purchase motivated at least in part by

   his own financial interest.” Nesbeth v. Wachovia Bank, No. 09-62042-CIV, 2010 WL 11601016,

   at *3 (S.D. Fla. July 19, 2010), report and recommendation adopted sub nom. Nesbeth v. USIMO,

   No. 09-62042-CIV, 2010 WL 11601017 (S.D. Fla. Sept. 9, 2010) (quoting Pinter, 486 U.S. 642-

   47).

           Here, Plaintiff’s allegations that Voyager Digital Ltd solicited Plaintiff or other users is

   based on the same generalized statements in earnings calls and press releases that discuss the

   activities of Voyager LLC, and those allegations are refuted by factual allegations acknowledging

   that Voyager LLC operates the Voyager Platform, not Voyager Ltd. (See AC ¶¶ 3, 34, 70; see

   also supra at 7-8.) “[B]ald allegations of solicitation are insufficient to sustain . . . section 12(a)(2)

   liability as a ‘seller’ . . . .” In re Deutsche Telekom AG Sec. Litig., No. 00 CIV 9475 SHS, 2002

   WL 244597, at *5 (S.D.N.Y. Feb. 20, 2002).

           C.      The Federal Securities Claim (Count I) Is Time-Barred.

           Federal claims for failure to register a security, properly brought under Section 12(a)(1) of

   the Securities Act, are untimely “unless brought within one year after the violation upon which it

   is based.” 15 U.S.C. § 77m. The purported violation here was the offer of an Earn Program




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      Florida follows federal law on this point. See In re Sahlen & Assocs., Inc. Sec. Litig., 773 F.
   Supp. 342, 372 n.40 (S.D. Fla. 1991) (“Although no case to this Court’s knowledge has specifically
   addressed the issue, this Court determines that conduct sufficient to constitute solicitation for the
   purposes of satisfying § 517.211 liability is similar to that deemed sufficient by the Supreme Court
   in Pinter v. Dahl to hold one liable as a ‘seller’ under § 12(2) of the Securities Act of 1933.”).


                                                      -26-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 29 of 33




   Account, culminating in Plaintiff opening his Voyager Account on March 17, 2021, and depositing

   funds on March 18, 2021. (AC ¶¶ 105-08.)

          Plaintiff did not assert any claims concerning an unregistered securities violation until his

   Amended Complaint was filed on April 28, 2022, more than one year after he opened and funded

   his Voyager account, so his federal securities claim is time-barred. 15 U.S.C. § 77m. See also e.g.,

   Woods v. Michael, No. 20-80651-CV, 2021 WL 1055816, at *6 (S.D. Fla. Feb. 10, 2021)

   (dismissing Section 12 claims for failure to register as time-barred), aff’d, No. 21-10818, 2021 WL

   3355459 (11th Cir. Aug. 3, 2021); In re Bibox Grp. Holdings Ltd. Sec. Litig., 534 F. Supp. 3d 326,

   337–38 (S.D.N.Y. 2021) (granting motion to dismiss where the claim was brought more than one

   year after the alleged sale and thus the statute of limitations “defense appears on the face of the

   complaint”); Holsworth v. BProtocol Found., No. 20 CIV. 2810 (AKH), 2021 WL 706549, at *3

   (S.D.N.Y. Feb. 22, 2021) (granting motion to dismiss and noting that, among other pleading

   failures, the “one-year statute of limitations under sections 13 and 77m, which applies to sections

   5 and section 12 violations, cannot be satisfied”).

          A putative “class representative whose claim is time-barred cannot assert the claim on

   behalf of the class.” Franze v. Equitable Assurance, 296 F.3d 1250, 1254 (11th Cir. 2002).

          D.      Plaintiff Fails to Allege He Suffered Any Injury Arising From the Voyager
                  Earn Program.
          Plaintiff already withdrew his assets from Voyager and has pled no damages from the Earn

   Program that he now contends should have been registered as a security, and from which he was

   paid benefits. (See AC ¶ 106.) As a result, his securities claims should be dismissed both for lack

   of standing and for failure to plead a redressable claim under the securities laws.

                  1.      Plaintiff Lacks Article III Standing.

          To have standing under Article III, a plaintiff “must have (1) suffered an injury in fact, (2)

   that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be


                                                   -27-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 30 of 33




   redressed by a favorable judicial decision.” Tsao v. Captiva MVP Rest. Partners, LLC, 986 F.3d

   1332, 1337 (11th Cir. 2021) (collecting cases). “A plaintiff at the pleading stage, as the party

   invoking federal jurisdiction, bears the burden of establishing these elements by alleging facts that

   plausibly demonstrate each element.” Id. Mere conclusory statements do not suffice.” Id. at 1338

   (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). These Article III standing requirements

   apply alike to federal and state law claims. See Harnett v. Est. of Chislett, 487 F. Supp. 3d 1270,

   1276 (S.D. Ala. 2020). “[E]ach claim must be analyzed separately, and a claim cannot be asserted

   on behalf of a class unless at least one named plaintiff has suffered the injury that gives rise to that

   claim.” Lewis v. Mercedes-Benz USA, LLC, 530 F. Supp. 3d 1183, 1204 (S.D. Fla. 2021) (quoting

   Prado-Steiman ex rel. Prado v. Bush, 221 F. 3d 1266, 1280 (11th Cir. 2000)).

           The injury-in-fact element of the standing test means that “a plaintiff must set forth general

   factual allegations that ‘plausibly and clearly allege a concrete injury,’ and that injury must be

   ‘actual or imminent, not conjectural or hypothetical.’” Tsao at 1337-38 (quoting Thole v. U.S.

   Bank N.A, 140 S. Ct. 1615, 1621 (2020) and Spokeo, Inc. v. Robins, 578 U.S. 330 (2016)). In other

   words, if “the plaintiff does not claim to have suffered an injury that the defendant caused and the

   court can remedy, there is no case or controversy for the federal court to resolve.” TransUnion

   LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021).

           In two recent decisions, the U.S. Supreme Court addressed the specific question of whether

   uninjured plaintiffs who sue over a statutory violation have standing – and definitively ruled that

   they do not. In Spokeo, the plaintiff alleged that the defendant inaccurately reported information

   about him in violation of the Fair Credit Reporting Act. Spokeo, 578 U.S. at 334. Remanding, the

   Court held that that the plaintiff “could not . . . allege a bare procedural violation, divorced from

   any concrete harm and satisfy the injury-in-fact requirement of Article III.” Id. at 341. Likewise,

   in TransUnion, the Supreme Court explained: “[U]nder Article III, an injury in law is not an injury



                                                    -28-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 31 of 33




   in fact.. . . . Article III grants federal courts the power to redress harms that defendants cause

   plaintiffs, not a freewheeling power to hold defendants accountable for legal infractions.”

   TransUnion LLC, 141 S. Ct. at 2205. Plaintiff’s attempt to convert press coverage of regulatory

   actions into a private claim are precisely the sort of claim based on an alleged procedural violation,

   but devoid of any alleged harm to Plaintiff, that Spokeo and TransUnion prohibit.

          Courts have rejected similar efforts to convert an alleged securities registration violation

   into a private action without alleging damages. See Holsworth v. BProtocol Found., No. 20 CIV.

   2810 (AKH), 2021 WL 706549, at *2 (S.D.N.Y. 2021) (granting motion to dismiss claim alleging

   that a cryptocurrency was an unregistered security on multiple grounds, including lack of standing,

   where “the [complaint] is silent on the point of injury.”). As in Holsworth, there are no pleadings

   of cognizable injury here, so Counts I and II should be dismissed for lack of standing.

                  2.      Plaintiff Fails to State a Redressable Claim.

          Section 12(a) of the Securities provides that a seller of an unregistered security is liable to

   the purchaser “to recover the consideration paid for such security with interest thereon, less the

   amount of any income received thereon, upon the tender of such security, or for damages if he no

   longer owns the security.” 15 U.S.C. § 77l. Plaintiff’s state law claim under Florida Statute §

   517.211, similarly authorizes a suit “for rescission, if the purchaser still owns the security, or for

   damages, if the purchaser has sold the security.” § 517.211(1), (4).

          In In re Daou Sys., Inc., 411 F.3d 1006, 1029 (9th Cir. 2005), the Ninth Circuit explained

   that “To establish liability under section 12(a)(2) . . . the purchaser must [] demonstrate damages

   to recover . . . and there can be no recovery unless the purchaser has suffered a loss.” Similarly,

   in Commercial Union Assur. Co., plc v. Milken, 17 F.3d 608, 616 (2d Cir. 1994), the Second

   Circuit affirmed summary judgment where the damages were more than offset by distributions

   and, as a result, “appellants have not suffered compensable damages under § 12[(a])(2).” Id.



                                                   -29-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 32 of 33




          Relying upon Commercial Union and Dao, the Report and Recommendation in Rensel v.

   Centra Tech, Inc., No. 17-24500-CIV, 2018 WL 4410110 at *7 n.10 (S.D. Fla. June 14, 2018)

   noted that “a plaintiff bringing a cause of action pursuant to Section 12 must show that they

   ‘suffered compensable damages’” and recommended dismissal on the basis that the plaintiff had

   “suffered no injury cognizable under the statute.” Id. at *8. The same logic applies with equal

   force here. Plaintiff has alleged no cognizable injury under the federal or state securities statutes,

   so the Court should dismiss the Plaintiff’s securities claims for failure to state a claim.

                                             CONCLUSION

          For all the foregoing reasons, Defendants respectfully request that the Court dismiss the

   Complaint in its entirety with prejudice and compel Plaintiff to assert his claims in arbitration.

                                REQUEST FOR ORAL ARGUMENT

          Defendants respectfully request that the Court hear oral argument on the foregoing Motion

   to Compel Arbitration and to Dismiss the Complaint.

   Date: May 16, 2022
                                                           Respectfully submitted,

                                                           By: /s/ DRAFT
                                                           Gavin C. Gaukroger
                                                           Florida Bar No. 76489
                                                           ggaukroger@bergersingerman.com
                                                           BERGER SINGERMAN LLP
                                                           201 East Las Olas Boulevard, Suite 1500
                                                           Fort Lauderdale, Florida 33301
                                                           Telephone: (954) 525-9900

                                                           Kayvan B. Sadeghi (admitted pro hac vice)
                                                           ksadeghi@jenner.com
                                                           Jeremy Ershow (admitted pro hac vice)
                                                           jershow@jenner.com
                                                           Sara E. Cervantes (admitted pro hac vice)
                                                           scervantes@jenner.com
                                                           JENNER & BLOCK LLP
                                                           1155 Avenue of the Americas
                                                           New York, NY 10036-2711


                                                    -30-
Case 1:21-cv-24441-CMA Document 54 Entered on FLSD Docket 05/16/2022 Page 33 of 33




                                              Telephone: (212) 891-1600

                                              Counsel for Defendants




                                       -31-
